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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 MITSUI SUMITOMO INSURANCE
 COMPANY OF AMERICA,
                                                    Civil Action No. 18-cv-1909
                        Plaintiff,

     v.

 UPS SUPPLY CHAIN SOLUTIONS,
 INC. d/b/a UPS AIR FREIGHT                               COMPLAINT
 SERVICES,

                        Defendant.


          Plaintiff Mitsui Sumitomo Insurance Company of America (“MSIA”), by and

through its attorneys Hill Rivkins LLP, complaining of the above-named Defendant,

alleges upon information and belief as follows:


1.        This action arises from loss or damage to a shipment of glass fiber optic

components used in computer network platforms, which was transported by

international air carriage from China to the United States in April 2017.


2.        This Honorable Court has jurisdiction pursuant to 28 USC § 1331, in that the

action is governed by the Convention for the Unification of Certain Rules for

International Carriage by Air, done at Montreal on 28 May 1999 (entered into force

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Nov. 4, 2003), S. Treaty Doc. No. 106-45, commonly known as the “Montreal

Convention.”


3.    Defendant is subject to the personal jurisdiction of this Honorable Court by

virtue of conducting business within and through this District and the State of New

York. Defendant is also registered with the New York Department of State, Division

of Corporations, to do business within the State of New York as a foreign business

corporation.


4.    At all times relevant hereto, Plaintiff MSIA was and now is a corporation

organized and existing by virtue of the New York law of with an office and place of

business at 560 Lexington Avenue, New York, NY 10022, and was the insurer of the

cargo that is the subject matter of this litigation.


5.    At all times relevant hereto, Defendant UPS Supply Chain Solutions, Inc.

(“UPS”) was and now is a corporation organized and existing by virtue of Delaware

law with an office and place of business at 55 Glenlake Parkway Northeast, Atlanta,

GA 30328, doing business under the trade name “UPS Air Freight Services,” and

engaged in business as a common air carrier of goods for hire.


6.    At all times relevant hereto, MSIA’s insureds, Senko Advanced Components,

Inc. and/or Senko Advanced Components (Shenzhen) Ltd. (together “Senko”), were

the shippers, consignees, and/or owners of the cargo at issue in this action. Pursuant

to an insurance claim made under a policy then in force and effect, and prior to the



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commencement of this action, MSIA reimbursed Senko for the cargo loss at issue, and

thereby became subrogated to all of Senko’s rights, remedies, and causes of action

with respect to the cargo, including the claims asserted against Defendant UPS

herein.


7.     MSIA bring this action on its own behalf and, as agent and trustee, on behalf

of and for the interest of all parties who may be or become interested in said shipment,

as their respective interests may ultimately appear, and MSIA is entitled to maintain

this action.


8.     In or about April 2017, a shipment of glass fiber optic components (the “Cargo”)

was tendered to Defendant UPS in good order and condition and suitable in every

respect for the intended transportation, which Defendant UPS received, accepted,

and agreed to transport by air carriage for certain consideration from Shenzhen,

China, to Boston, MA by way of John F. Kennedy International Airport in Jamaica,

NY, as more fully described in UPS house air waybill no. 5908495604.


9.     Thereafter, Defendant UPS delivered the Cargo in damaged condition, as

evidenced by the notation of “crushed boxes” on UPS’s delivery note, resulting in a

total loss thereof.


10.    Defendant UPS was thus negligent and careless in its handling of the Cargo;

breached its statutory, common-law, and contractual duties and obligations as an air

carrier, indirect air carrier, and/or bailee of the Cargo; and was otherwise at fault.



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11.   Plaintiff MSIA and its subrogor Senko have duly performed all duties,

obligations, and conditions precedent to be performed on their part, including but not

limited to providing timely notice of the loss and resulting claim to Defendant UPS.


12.   By reason of the premises, MSIA has sustained damages as nearly as same can

now be estimated, no part of which has been paid, although duly demanded, in the

amount of $33,744.04.


      WHEREFORE, Plaintiff MSIA prays: (i) that process in due form of law

according to the practice of this Court may issue against the Defendant UPS, citing

it to appear and answer the foregoing; (ii) that a decree may be entered in the favor

of MSIA against Defendant UPS in the amount of $33,744.04, together with costs,

interest, and reasonable attorneys’ fees; and (iii) for such other relief as this Court

may deem just and proper.


Dated: March 29, 2018
                                              HILL RIVKINS LLP, Attorneys for
                                              Mitsui Sumitomo Ins. Co. of America


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